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ELECTRONICALLY FILED


                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 LEXINGTON DIVISION

MARTIN LUFTMAN and                                            CASE NO. ___________________
VIRGINIA LUFTMAN

               Plaintiffs
                                                              JUDGE: _____________________

v.



LABORATORY FOR KIDNEY                                       NOTICE OF REMOVAL
PATHOLOGY, INC.;
and LILIA MAURICIO, M.D.

               Defendants




                                 *      *       *      *       *
        To the Honorable Judges of the United States District Court for the Eastern District of

Kentucky, Lexington Division:

        The Removing Parties and Putative Defendants, Laboratory for Kidney Pathology, Inc.,

and Lilia Mauricio, M.D., by and through counsel, and without waiving their rights, without

subjecting themselves to the personal jurisdiction of this Court by virtue of this appearance, and

without waiving their ability to further challenge this action under any other applicable Federal

Rules of Civil Procedure, and pursuant to 28 USCS §§ 1332, 1441, and 1446, hereby respectfully

submit to this Court:




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1. The Removing Parties are named as Defendants in a civil action brought against them in

   the Fayette Circuit Court, Commonwealth of Kentucky, Civil Action No. 15-CI-

   4557, for damages related to an alleged claim of medical malpractice. A true and

   accurate copy of all pleadings filed to date in that action are collectively attached hereto

   as Exhibit A.

2. Plaintiffs, Martin Luftman and Virginia Luftman, commenced their action against

   Laboratory for Kidney Pathology, Inc., and Lilia Mauricio, M.D., on December 16, 2015,

   having obtained service of their Complaint on Laboratory for Kidney Pathology, Inc., and

   Lilia Mauricio, M.D., on or about that same date.

3. Laboratory for Kidney Pathology, Inc., and Lilia Mauricio, M.D., are filing this Notice of

   Removal within thirty (30) days, as required under 28 USCS § 1446.

4. Any civil action filed in a State Court over which the district courts of the United States

   have original jurisdiction, may be removed by the defendant or the defendants, to the

   district court of the United States for the district and division embracing the place where

   such action is pending. 28 USCS § 1441(a). The instant action is properly removable to

   this Court because this Court has original subject matter jurisdiction over the matter

   based upon diversity of citizenship.

5. Upon information and belief, and as indicated in Paragraphs 1 and 2 of Plaintiffs’

   Complaint, at the time the Plaintiffs filed their Complaint in State Court, and at the time

   this Notice of Removal was filed in this Court (hereinafter, “at all relevant times”), the

   Plaintiffs were residents, citizens, and domiciliaries of Lexington, Fayette County,

   Kentucky (See: Plaintiffs’ Complaint, Paragraphs 1 and 2).




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6. At all relevant times, Putative Defendant Laboratory for Kidney Pathology, Inc., was a

   Tennessee Corporation holding its principal place of business at 1916 Patterson Street,

   Nashville, Davidson County, TN 37203.

7. At all relevant times, Putative Defendant Laboratory for Kidney Pathology, Inc., was

   identified in Plaintiffs’ Complaint as a foreign corporation with its principal place of

   business at 1916 Patterson Street, Nashville, TN 37203.

8. Putative Defendant Laboratory for Kidney Pathology, Inc., is, in fact, currently

   incorporated under the laws of, and has its principal place of business in, the State of

   Tennessee, Davidson County.

9. At all relevant times, Putative Defendant Lilia Mauricio, M.D., was a resident, citizen,

   and domiciliary of the State of Tennessee, Davidson County.

10. At all relevant times, Putative Defendant Lilia Mauricio, M.D., was identified in

   Plaintiffs’ Complaint as a resident of the State of Tennessee.

11. Putative Defendant Lilia Mauricio, M.D., is, in fact, currently a resident, citizen, and

   domiciliary of the State of Tennessee, Davidson County.

12. Because this is a case between two citizens of the Commonwealth of Kentucky and two

   citizens of the State of Tennessee, there is complete diversity of citizenship under 28

   USCS § 1332(a) and (c)(1).

13. Plaintiffs do not allege a specific number of damages in this action (See: Plaintiffs’

   Complaint), but with the filing of this Notice of Removal, Putative Defendants presume

   the damages to be claimed by Plaintiff are in excess of $75,000.

14. As such, the $75,000 amount in controversy requirement for diversity jurisdiction in this

   Court is satisfied, pursuant to 28 USCS § 1332.



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   15. For the reasons recited hereinabove, this Honorable Court has original jurisdiction over

       the instant lawsuit, which is removable to this Court pursuant to 28 USCS § 1441(a).

   16. Each of the Putative Defendants to this action have consented to removal.

   17. Each of the Putative Defendants to this action have complied with all applicable

       requirements of 28 USCS § 1446, and are promptly providing Notice of this Removal to

       the Plaintiffs, by and through counsel, and the Circuit Court of Fayette County,

       Kentucky.

       WHEREFORE, The Removing Parties and Putative Defendants, Laboratory for Kidney

Pathology, Inc., and Lilia Mauricio, M.D., respectfully request that this Notice of Removal be

filed, and that the Complaint in Fayette Circuit Court Civil Action No. 15-CI-4557 be removed

from the Fayette Circuit Court, to this Honorable Court.




Dated: ___1/14/2016                          Respectfully submitted,


                                             FULKERSON, KINKEL & MARRS, PLLC
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                                     By:     /s/ Chad Thompson_______________________
                                             MELANIE S. MARRS
                                             T. CHAD THOMPSON
                                             Counsel for Putative Defendants,
                                             Laboratory for Kidney Pathology, Inc.,
                                             and Lilia Mauricio, M.D.




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                               CERTIFICATE OF SERVICE

       I hereby certify that, on January 14th, 2016, I electronically filed the foregoing with the

Clerk of the United States District Court for the Eastern District of Kentucky, by using the

CM/ECF system, and that a hard copy of the foregoing was also served upon the following via

U.S. mail on the same date:


Copies To:

Fayette Circuit Court Clerk
103 Robert F. Stephens Courthouse
120 North Limestone Street
Lexington, Kentucky 40507

Douglass Farnsley
J. Brittany Cross Carlson
Stites & Harbison, PLLC
400 West Market Street
Suite 1800
Louisville, Kentucky 40202
Counsel for Plaintiffs




/s/ Chad Thompson___________________
MELANIE S. MARRS
T. CHAD THOMPSON
Counsel for Putative Defendants,
Laboratory for Kidney Pathology, Inc.,
and Lilia Mauricio, M.D.




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